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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                    CASE NO.: 20-cv-24764-DLG

 WINDY LUCIUS,

        Plaintiff,

 v.

 PUMA NORTH AMERICA, INC.,

        Defendant.
                                               /

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), with no responsive pleadings having yet been

 filed by Defendant PUMA NORTH AMERICA, INC., Plaintiff WINDY LUCIUS hereby gives

 notice that she voluntarily dismisses all claims against Defendant with prejudice, and requests that

 this Court terminate the action.

 Dated: January 13, 2021                       Respectfully submitted,

                                               /s/ J. Courtney Cunningham
                                               J. Courtney Cunningham, Esq.
                                               J. COURTNEY CUNNINGHAM, PLLC
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                                               Miami, FL 33156
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                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 13, 2021, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system.

                                               /s/ J. Courtney Cunningham
                                               J. Courtney Cunningham, Esq.
